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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 17-cr-00168-CMA

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. KAREN MCCLAFLIN,

        Defendant.


 GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR COMPASSIONATE
            RELEASE OR HOME CONFINEMENT [DOC. # 117]


        The United States respectfully submits this response in opposition to the Defendant’s

 Motion for Compassionate Release or Home Confinement [Doc. # 117]. The defendant’s motion

 is based primarily on COVID-19 and her concerns that she is at a higher risk because of a

 supposed autoimmune disorder, thyroid disease, and that she is a former smoker. Because the

 defendant has not made any request to the Bureau of Prisons for compassionate release based on

 concerns regarding COVID-19, she has failed to exhaust her administrative remedies. Even if

 the Court finds that the defendant need not exhaust her administrative remedies as to her

 COVID-19 claims, it should deny her request for compassionate release because the BOP has

 taken appropriate measures to mitigate the risk of COVID-19 and because releasing the

 defendant from prison would undermine the sentencing goals set forth under 18 U.S.C.

 § 3553(a).

         Additionally, the defendant complains that Federal Medical Center Carswell is not the

 type of medical facility she should be in and that it is incapable of providing her with a re-




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 implantation surgery. However, this complaint about the conditions of her confinement does not

 meet the statutory requirements for compassionate release and should not be considered by the

 Court. Nor is this complaint supported by the defendant’s medical records.

        I.      The Defendant has Failed to Exhaust her Administrative Remedies

                Regarding COVID-19

        The defendant did not raise COVID-19 in the request for compassionate release that she

 submitted to the Bureau of Prisons (“BOP”) on November 18, 2019, which was rejected,

 appealed twice, and rejected again twice. [See Doc. # 117 at 27-36]. In her request to BOP,

 which was submitted only five months after her self-surrender to Federal Medical Center

 Carswell (“FMC Carswell”), the defendant asserted that BOP could not provide an orthopedic

 specialist capable of re-implanting an artificial hip joint1 and that she should be released from

 prison so that she could seek out a specialist at the Mayo Clinic in New York to perform her

 surgery. [Doc. # 117 at 35-36]. On December 13, 2019, Warden Carr denied the defendant’s

 request for compassionate release, explaining that she did not meet the criteria based on her

 medical circumstances because “[a] review of your medical status indicates, that although you

 may require a wheelchair at times for mobility, you are able to complete all self-care activities



 1
    The defendant’s medical records do not support this claim. The notes of her orthopedist, Dr.
 Sanchez, from July 8, 2019, and September 9, 2019, show that he was monitoring the
 defendant’s progress in remaining infection free prior to scheduling any surgery. [Ex. 3 at 5-6].
 On September 9, 2019, Dr. Sanchez determined that the defendant should not have surgery for
 twelve months following her last surgery in March 2019. [Id. at 6]. Per his notes, the defendant
 agreed with this plan. [Id.]. While Dr. Sanchez noted the defendant’s high risk of re-infection in
 light of her history of infections, his notes do not support the defendant’s assertion that Dr.
 Sanchez expressed a lack of confidence in his ability to competently perform the required
 surgery. [Id.]. Notably, the defendant’s medical records also show that she told her physical
 therapist on August 12, 2019, i.e. only two months after arriving at FMC Carswell, that she did
 not want to have any surgery while she was incarcerated. [Id. at 11]. The defendant’s arguments
 regarding BOP’s purported lack of ability to provide appropriate medical care appear to be
 driven by her own biases rather than facts.


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 independently.” [Doc. # 177 at 35].

        The defendant never submitted a new request for compassionate release to address her

 concerns regarding COVID-19. Thus, the defendant has failed to exhaust her administrative

 remedies as to the primary claim she has presented to the Court, and the Court does not have

 jurisdiction to consider that claim.

        The Court may modify a defendant’s term of imprisonment only after the defendant “has

 fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

 motion on the defendant’s behalf or the lapse of thirty days from the receipt of such a request by

 the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Proper

 exhaustion necessarily requires the defendant to present the same factual basis for the

 compassionate release request to the warden. Indeed, 28 C.F.R. § 571.61, which outlines the

 process for submitting a § 3582(c)(1)(A) request to the warden, requires the request to contain,

 “at a minimum . . . [t]he extraordinary or compelling circumstances that the inmate believes

 warrant consideration.” Administrative exhaustion is critical to ensure that the BOP, which has

 the most accurate and direct information regarding COVID-19 in its facilities, has the

 opportunity to act.

        Ms. McClaflin encourages the Court to find that Section 3582(c)(1)(A)’s exhaustion

 requirement is non-jurisdictional. [Doc. # 117 at 20]. However, the vast majority of courts to

 have considered the issue “conclud[ed] that a failure to satisfy 18 U.S.C. § 3582(c)(1)(A)’s filing

 requirements bars defendants from filing motions for compassionate release, and that the

 judiciary has no power to craft an exception to these requirements for defendants seeking release

 during the COVID-19 pandemic.” United States v. Rabadi, 2020 WL 1862640, at *3 (S.D.N.Y.

 Apr. 14, 2020) (collecting cases). When a defendant fails to satisfy Section 3582(c)(1)(A)’s




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 exhaustion requirement, a court is “without jurisdiction to entertain [the defendant’s] request for

 compassionate release.” United States v. Perry, 2020 WL 1676773, at *1 (D. Colo. Apr. 3,

 2020) (quoting United States v. Keith, 2019 WL 6617403, at *1 (W.D. Okla. Dec. 5, 2019)); see

 also United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (concluding that failure to satisfy

 exhaustion requirement “presents a glaring roadblock foreclosing compassionate release”).

        II.     The BOP’s Response to COVID-19

        In response to the COVID-19 pandemic, BOP has taken significant measures to protect

 the health of the inmates in its charge, which is one of its highest priorities. Indeed, BOP has had

 a Pandemic Influenza Plan in place since 2012. BOP Health Services Division, Pandemic

 Influenza Plan-Module 1: Surveillance and Infection Control (Oct. 2012), available at

 https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf. That protocol is lengthy and

 detailed, establishing a six-phase framework requiring BOP facilities to begin preparations when

 there is first a “[s]uspected human outbreak overseas.” Id. at i. The plan addresses social

 distancing, hygienic and cleaning protocols, and the quarantining and treatment of symptomatic

 inmates.

        Consistent with that plan, BOP began planning for potential coronavirus transmissions in

 January. At that time, the agency established a working group to develop policies in consultation

 with subject matter experts in the Centers for Disease Control, including by reviewing guidance

 from the World Health Organization.

        On March 13, 2020, BOP began to modify its operations, in accordance with its

 Coronavirus (COVID-19) Action Plan (“Action Plan”), to minimize the risk of COVID-19

 transmission into and inside its facilities, including at the defendant’s facility. Since that time, as

 events require, BOP has repeatedly revised the Action Plan to address the crisis. [See BOP




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 Memos at Exs. 1 & 2]. Under the phase of the Action Plan currently in effect, only limited group

 gathering is afforded, with attention to social distancing to the extent possible, to facilitate

 commissary, laundry, showers, telephone, and computer access. Further, BOP has severely

 limited the movement of inmates and detainees among its facilities. Though there will be

 exceptions for medical treatment and similar exigencies, this step as well will limit transmissions

 of the disease. Likewise, all official staff travel has been cancelled, as has most staff training.

        All staff and inmates have been and will continue to be issued face masks and strongly

 encouraged to wear an appropriate face covering when in public areas when social distancing

 cannot be achieved.

        Every newly admitted inmate is screened for COVID-19 exposure, risk factors, and

 symptoms. Asymptomatic inmates with risk of exposure are placed in quarantine for a minimum

 of 14 days or until cleared by medical staff. Symptomatic inmates are placed in isolation until

 they test negative for COVID-19 or are cleared by medical staff as meeting CDC criteria for

 release from isolation.

        Contractor access to BOP facilities is restricted to only those performing essential

 services (e.g. medical or mental health care, religious, etc.) or those who perform necessary

 maintenance on essential systems. All volunteer visits are suspended absent authorization by the

 Deputy Director of BOP. Any contractor or volunteer who requires access will be screened for

 symptoms and risk factors.

        Social and legal visits were stopped as of March 13, and remain suspended until at least

 June 30, 2020, to limit the number of people entering the facility and interacting with inmates.

 In order to ensure that familial relationships are maintained throughout this disruption, BOP has

 increased detainees’ telephone allowance to 500 minutes per month. Tours of facilities are also




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 suspended. Legal visits will be permitted on a case-by-case basis after the attorney has been

 screened for infection in accordance with the screening protocols for prison staff. Further details

 and updates of BOP’s modified operations are available to the public on the BOP website at a

 regularly updated resource page: www.bop.gov/coronavirus/index.jsp.

        In addition, in an effort to relieve the strain on BOP facilities and assist inmates who are

 most vulnerable to the disease and pose the least threat to the community, BOP is exercising

 greater authority to designate inmates for home confinement. On March 26, 2020, the Attorney

 General directed the Director of the Bureau of Prisons, upon considering the totality of the

 circumstances concerning each inmate, to prioritize the use of statutory authority to place

 prisoners in home confinement. That authority includes the ability to place an inmate in home

 confinement during the last six months or 10% of a sentence, whichever is shorter, see 18 U.S.C.

 § 3624(c)(2), and to move to home confinement those elderly and terminally ill inmates specified

 in 34 U.S.C. § 60541(g). Congress has also acted to enhance BOP’s flexibility to respond to the

 pandemic. Under the Coronavirus Aid, Relief, and Economic Security Act, enacted on March 27,

 2020, BOP may “lengthen the maximum amount of time for which the Director is authorized to

 place a prisoner in home confinement” if the Attorney General finds that emergency conditions

 will materially affect the functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2), 134 Stat.

 281, 516 (to be codified at 18 U.S.C. § 3621 note). On April 3, 2020, the Attorney General gave

 the Director of BOP the authority to exercise this discretion, beginning at the facilities that thus

 far have seen the greatest incidence of coronavirus transmission.

        Taken together, all of these measures are designed to mitigate sharply the risks of

 COVID-19 transmission in a BOP institution. BOP has pledged to continue monitoring the

 pandemic and to adjust its practices as necessary to maintain the safety of prison staff and




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 inmates while also fulfilling its mandate of incarcerating all persons sentenced or detained based

 on judicial orders.

                            Additional Facts Specific to FMC Carswell

         Currently, FMC Carswell has no cases of COVID-19. [Ex. 4 (Declaration of Raul

 Campos) at ¶ 28]. Previously, one inmate at FMC Carswell died as a result of COVID-19, and

 another tested positive and has since recovered. See www.bop.gov/coronavirus/. Both inmates

 were isolated, and the inmate who has recovered remained in isolation until she had two negative

 tests for COVID-19. [Ex. 4 at ¶ 28].

         FMC Carswell is an accredited medical facility that provides nursing care, behavioral

 modification and ambulatory care. [Id. at ¶ ¶ 3-4 & 25]. It is not an inpatient hospital. Within

 BOP, patients are assigned four different levels of care. Care Level 1 is the lowest level of care

 required, and Care Level 4 is the highest level of care required.2 When the defendant first

 arrived at FMC Carswell on June 11, 2019, she was designated as a Care Level 4. [Id. at ¶ 27].

 On October 9, 2019, she was moved to a general population housing and her medical care level

 was changed to Care Level 2. [Id.].

         To date, FMC Carswell has reviewed all of its Care Level 4 inmates for eligibility for

 priority consideration for home confinement under the CARES Act and the Barr memoranda.

 [Id. at ¶ 25].   Because the defendant’s current medical condition does not warrant a Care Level

 4 designation, she was not a part of this priority group.

         III.     The Defendant’s Medical Claims Relating to COVID-19

         In her motion, the defendant alleges that she suffers from an autoimmune disorder and




 2
  For more information about care level designations, see
 ww.bop.gov/foia/docs/medicalclassificationguidelines.pdf.


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 that she is a former smoker.3 [Doc. # 117 at 1-2]. In reviewing the defendant’s medical records,

 the government has seen no documents supporting the defendant’s claim that she suffers from an

 autoimmune disorder or that she is generally immunocompromised. There are repeated

 references in her medical records to her history of bacterial infections relating to her hip

 replacement surgeries. For this reason, she was seen by an infectious disease specialist on

 September 6, 2019. [Ex. 3 at 7-10]. But it does not appear that any further or broader diagnosis

 about being immunocompromised has been made. [Id.]. Nor was any concern about the

 defendant supposedly being immunocompromised noted when she was isolated and treated for

 flu-like symptoms from February 27-March 2, 2020. [Ex. 3 at 21-30]. Her medical records

 regarding this incident reference her history of COPD, but they do not mention her being

 immunocompromised. [Id.]. You would expect to see such a reference in these notes if such a

 diagnosis truly existed. [Id.]. The defendant recovered from these flu-like symptoms by March

 2, 2020. [Id. at 29-30].

        While not referenced it in her motion, the defendant was diagnosed with COPD on

 December 5, 2019. [Id. at 2]. COPD is a risk factor that the CDC has identified with respect to

 COVID-19. Her COPD is likely related to the defendant’s self-reported history of being a

 former smoker.

        IV.     The Court Should Deny Defendant’s Request for a Reduction in Sentence

        Under the First Step Act, the Court may grant the defendant’s motion for reduction of

 sentence “if it finds that . . . extraordinary and compelling reasons warrant such a reduction . . .

 and that such a reduction is consistent with applicable policy statements issued by the Sentencing

 Commission.” 18 U.S.C. § 3582(c)(1)(A). The proposed sentencing reduction must he


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  The defendant also asserts that she has hypothyroidism. Her medical records confirm this
 condition, but it is controlled by medication. [Ex. 3 at 1]. And it is not a COVID-19 risk factor.


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 consistent with “the factors set forth in section 3553(a).” Id. In general, the defendant has the

 burden to show circumstances meeting the test for compassionate release. United States v.

 Heromin, 2019 WL 2411311, at *2 (M.D. Fla. June 7, 2019) (unpublished). As the terminology

 in the statute makes clear, compassionate release is “rare” and “extraordinary.” United States v.

 Willis, 2019 WL 2403192, at *3 (D.N.M. June 7, 2019) (unpublished) (citations omitted).

        Currently, the Department of Justice is taking the position that the presence of a COVID-

 19 risk factor that is confirmed by BOP medical records meets the threshold requirement of

 presenting an “extraordinary and compelling” reason under the First Step Act.4 However, the

 Department of Justice is not taking the position that the mere satisfaction of this threshold

 requirement should result in the granting of compassionate release. Instead, the Court should

 balance the precautions that the BOP is taking to mitigate the risk of COVID-19, the danger of

 releasing the defendant to the community, and the sentencing factors set forth under 18 U.S.C.

 § 3553(a).

        Even where a defendant meets the threshold conditions for compassionate release, the

 decision to grant or deny a request for reduction in sentence remains discretionary. See

 Greenholtz v. Inmates of Neb. Penal & Corr. Complex, 442 U.S. 1, 7 (1979) (“There is no




 4
  The law does not require the Court to agree with the Department of Justice’s position. See e.g.,
 United States v. Korn, 2020 WL 1808213, at *6-8 (W.D.N.Y. Apr. 9, 2020) (coronary artery
 disease did not amount to an extraordinary and compelling reason); United States v. Roberts,
 2020 WL 1700032, at *2 (S.D.N.Y. Apr. 8, 2020) (denying to compassionately release HIV-
 positive defendant housed at New York City’s Metropolitan Correctional Center (MCC), which
 had 10 confirmed COVID-19 cases – four inmates and six staff – as of the date of the court’s
 opinion); United States v. Hays, 2020 WL 1698778 (S.D. Ala. Apr. 7, 2020) (holding concerns
 about contracting COVID-19 based on defendant’s age, anemia, and allegedly unsanitary
 conditions at her facility were not extraordinary and compelling reasons justifying her release);
 United States v. Clark, 2020 WL 1557397, at *1 & *4 (M.D. La. Apr. 1, 2020) (defendant’s high
 blood pressure and high cholesterol are not serious medical conditions and “the fear of
 contracting a communicable disease” proves insufficient to justify a sentence modification).


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constitutional or inherent right of a convicted person to be conditionally released before the

expiration of a valid sentence.”).

       Here, the Court should deny the defendant’s request because of the effective measures

that BOP has taken to mitigate the risk of COVID-19, and because the sentencing factors under

Section 3553(a) compel that the defendant’s request be denied. See e.g., United States v. Israel,

2019 WL 6702522, at *2 (S.D.N.Y. Dec. 9, 2019) (unpublished) (even accepting as true that the

defendant was “severely disabled by incurable and progressive medical conditions, and that his

condition has worsened substantially since he was originally incarcerated” compassionate release

was denied due to the severity of the criminal conduct involving a massive Ponzi scheme: “[I]t

would make a mockery of the sentencing statute if this financial fraudster, who ruined the lives

and finances of hundreds of people while living the high life of an ostensibly successful hedge

fund manager, were to be have his sentence reduced.”).

       From 2011 through 2017, the defendant engaged in a massive real estate fraud investment

scheme resulting in a loss to investors of $14,528,206.39. [Doc. # 11 at 8-11; Doc. # 52 at 6].

During her fraud scheme, McClaflin represented to investors that her company, Homesource,

could purchase distressed houses that were deeply discounted. [Doc. # 11 at 8]. McClaflin

further represented that Homesource then had the following three exit strategies to profit from

the distressed house: (1) sell it within 30 days for an immediate profit; (2) “fix and flip” the

house for sale within 31-90 days; or (3) fix the house and rent it if the house fails to sell within

90 days. [Id.]. McClaflin falsely represented that each property would be financed by an

individual investor whose investment would be secured by a Deed of Trust in first position on

that property. [Id.]. McClaflin promised that investors would receive an interest rate of 6% to

15%. [Id. at 9].




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       However, starting in late March 2011, McClaflin intentionally began having multiple

investors “invest” in the same property and began placing multiple Deeds of Trust on the same

properties such that the amount of the investments purporting to be secured by the Deeds of

Trust exceeded the value of the property. [Id.]. Starting in late March or April 2011, McClaflin

intentionally did not record all of the investors’ Deeds of Trust as promised. [Id.]. Nonetheless,

McClaflin continued to falsely represent that investors would receive a first Deed of Trust and

that McClaflin would record that Deed of Trust for the investor. [Id.]. McClaflin also

sometimes forged the signature of an investor, without the investor’s knowledge or consent, on a

release so McClaflin could remove that investor’s Deed of Trust from a property. [Id.].

       Beginning in at least early 2013, Homesource’s debt had grown too high and the interest

payments owed to investors far exceeded the gross profits earned by Homesource. [Id.]. By

January 2013, McClafflin was aware of this problem and intentionally continued seeking

additional investments through 2017 so that she could keep making the interest payments owed

to earlier investors. [Id.]. Unbeknownst to the individual investors, the amount of investment

funds, which were supposed to be secured by real property, far exceeded the value of the

encumbered property and Homesource’s business assets. [Id. at 10].

       Releasing the defendant from prison after serving only 12 months of her 96-month

sentence would undermine the public’s confidence in the criminal justice system and would re-

traumatize the victims in this case. Additionally, a sentence of 12 months would not reflect the

seriousness of the offense, promote respect for the law, provide just punishment, or afford

adequate general or specific deterrence.

       For the foregoing reasons, the United States respectfully requests that the Court deny the

defendant’s motion.




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       V.      If the Court Grants Release, It Should Provide for a 14-Day Quarantine of

               the Defendant Prior to Release to Protect Public Health.

       Should the Court grant release, the government requests that it accommodate the need to

quarantine the defendant for a period of at least 14 days in order to protect public health. The

government further requests that the Court retain jurisdiction over the motion for 14 days if it

makes a determination to grant release, while advising the parties of that decision. BOP will

then place the inmate in quarantine. If the defendant has not displayed symptoms or tested

positive for COVID-19 for a period of 14 days, the Court may then order release. If the

defendant tests positive during the initial 14-day period, the government will notify the Court

and seek an extension of the release date until the defendant has tested negative.



               Respectfully submitted this 15th day of June, 2020.

                                                     JASON R. DUNN
                                                     United States Attorney

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                                 CERTIFICATE OF SERVICE


       I certify that on this 15th day of June, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record in this case




                                       By: s/Kayla Keiter
                                           Legal Assistant for AUSA Pegeen D. Rhyne
                                           United States Attorney=s Office




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